           UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA

John Doe

              v.                              Case Number: 1:23CV114

Wake Forest University


                   NOTICE OF SCHEDULING
       Take notice that a proceeding in the case has been scheduled as indicated below:

           PLACE:           L. Richardson Preyer Bldg.
                            324 W. Market St., Greensboro, NC
COURTROOM NO.:              3
 DATE AND TIME:             February 16, 2023 at 2:00 p.m.
   PROCEEDING:              Hearing on Motion for Temporary Restraining Order

John S. Brubaker, Clerk

By: /s/ Robin Winchester, Deputy Clerk

Date: February 7, 2023

TO:    ALL COUNSEL/PARTIES OF RECORD




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